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8
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9     American Career College, Inc.
10
11                            UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13
14   AMERICAN CAREER COLLEGE, INC.,                     Case No.:____________________
     a California corporation,
15                                                      COMPLAINT FOR:
                           Plaintiff,
16                                                      COMMON LAW BREACH OF
               v.                                       CONTRACT;
17
     AMERICAN MEDICAL CAREER                            FEDERAL TRADEMARK
18   COLLEGE, a California corporation,                 INFRINGEMENT [15 U.S.C.
                                                        § 1125(A)];
19                         Defendant.
                                                        FEDERAL FALSE
20                                                      DESIGNATION OF ORIGIN
                                                        AND UNFAIR COMPETITION
21                                                      [15 U.S.C. §1125(A)];
22
                                                        DEMAND FOR TRIAL BY JURY
23
24
25             Plaintiff American Career College, Inc. (referred to as “ACC” or “Plaintiff”),
26   by its undersigned attorneys, Duane Morris LLP, for its Complaint against Defendant
27   American Medical Career College (“Defendant”), hereby alleges as follows:
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1                                   NATURE OF THE ACTION
2              1.     This action also seeks enforcement of contract after Defendant’s breach,
3    along with attorneys’ fees and costs provisioned for enforcement in the contract.
4              2.     This action also seeks damages and injunctive relief for Defendant’s
5    subsequent infringement of ACC’s distinct American Career College trademarks,
6    and unfair competition and false designation of origin under federal law.
7              3.     ACC is the owner of multiple AMERICAN CAREER COLLEGE
8    service marks, including U.S. Registration Nos. 3,208,284, 3,730,885, 3,816,671 and
9    5,114,965 for use in connection with educational services and courses of instruction
10   at the undergraduate and professional level in a variety of disciplines, including
11   nursing (collectively, “ACC Marks”).
12             4.     For over forty years, Plaintiff has used the ACC Marks, and similar
13   stylized marks, as an identifier for its leading healthcare education institution. For
14   example, the ACC Marks appear on ACC’s campus buildings, website and social
15   media accounts, course materials, and promotional materials as shown below:
16
17
18
19
20
21
22
23             5.     ACC offers twelve demanding degree and diploma programs across
24   multiple campuses in Southern California and, to date, has over 50,000 graduates.
25   Over the last four decades, ACC has invested countless resources and developed a
26   significant amount of goodwill in its ACC Marks.
27
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1              6.     With a blatant disregard for ACC’s rights in the ACC Marks, Defendant
2    has been using, without ACC’s authorization, the following marks “AMERICAN
3    MEDICAL CAREER COLLEGE” and “AMCC AMERICAN CAREER COLEGE”
4    logo, examples of which are shown below (collectively, the “Infringing Marks”) in
5    connection with Defendant’s educational services in the healthcare field.
6
7
8
9              7.     ACC has repeatedly notified Defendant of its prior rights in the ACC
10   Marks and has cautioned Defendant against the use of the Infringing Marks.
11             8.     On July 16, 2020, ACC and Defendant duly executed a Settlement
12   Agreement and Release (“the Agreement”) in which Defendant agreed that within 6
13   months, it would cease all use of the Infringing Marks in connection with any
14   educational services, including on promotional materials, social media accounts, and
15   its website.
16             9.     After 6 months—as of January 16, 2021—Defendant continues to use
17   the Infringing Mark across all its social media platforms and its website.
18             10.    Upon knowledge and belief, Defendant has made no effort to cease use
19   of the Infringing Marks since signing the contract.
20             11.    Defendant’s use of the Infringing Marks constitutes a material breach of
21   the Agreement. ACC seeks attorney’s fees and costs that the Agreement provides for
22   either party seeking enforcement.
23             12.    Defendant’s unauthorized use of the Infringing Marks after January 16,
24   2021, is likely to cause confusion as to the affiliation, association, sponsorship,
25   and/or approval of Defendant’s educational services, with those of ACC, constituting
26   trademark infringement and unfair competition in violation of Sections 32 and 43 of
27   the Lanham Act (15 U.S.C. §§ 1114 and 1125). ACC seeks an injunction, an
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1    accounting of Defendant’s profits flowing from their use of the Infringing Marks
2    after the six-month grace period, damages, attorneys’ fees, and such other relief as
3    the Court deems just and proper.
4              13.    The nature of Defendant’s infringement between the period of January
5    16, 2021, and now, is knowing and willful. ACC seeks treble damages under the
6    Lanham Act (15 U.S.C. § 1117).
7                                           THE PARTIES
8              14.    Plaintiff American Career College, Inc., is a corporation incorporated
9    and existing under the laws of California with a registered address at 151 Innovation
10   Dr., Irvine, CA 92617.
11             15.    Upon information and belief, Defendant American Medical Career
12   College is a corporation incorporated and existing under the laws of California with a
13   registered address at 1460 E. Holt Ave., Ste. #176A, Pomona, CA 91767.
14                                 JURISDICTION AND VENUE
15             16.    This Court has subject matter jurisdiction over this controversy under 28
16    U.S.C. §§ 1331 and 1338, and 15 U.S.C. § 1121 because this action arises, in part,
17    under the Lanham Act, 15 U.S.C. §§ 1051 et seq.
18             17.    The Court has supplemental jurisdiction pursuant to 28 U.S.C.
19    §§ 1338(b) and 1367(a) over Plaintiff’s breach of contract claim arising under the
20    laws of the State of California.
21             18.    This Court has personal jurisdiction over Defendant because Defendant
22    is incorporated in and transacts business in the State of California and offers its
23    services under the Infringing Mark at a location in this district.
24             19.    Venue is proper in the Central District of California pursuant to 28
25    U.S.C. § 1391(b) because Defendant is subject to personal jurisdiction in this
26    district due to voluntary transacting of business herein, including offering
27    educational services in this district, and because a substantial portion of the events at
28    issue have arisen and will arise in this judicial district.
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1         FACTUAL BACKGROUND COMMON TO ALL CAUSES OF ACTION
2              A.     American Career College and the ACC Trademarks
3              20.    For over forty years, American Career College has dedicated itself to
4    becoming a leading healthcare education institution enrolling students across
5    multiple campuses in Southern California. ACC offers twelve demanding degree
6    and diploma programs and has over 50,000 graduates.
7              21.    ACC is institutionally accredited by the Accrediting Bureau of Health
8    Education Schools (ABHES). Each of ACC’s distinct educational programs hold
9    various accreditations from the relevant supervisory body. For example, the
10   Associate Degree in Nursing (Associate of Science) program is approved by the
11   California Board of Registered Nursing, while the Respiratory Therapy (Associate of
12   Occupational Science) program in Orange County and Ontario are accredited by the
13   Commission on Accreditation for Respiratory Care (CoARC).
14             22.    ACC owns United States Trademark Registrations for its ACC Marks,
15   for use in connection with educational services and courses of instruction at the
16   undergraduate and professional level in a variety of disciplines, including:
17    Trademark       Registration      Registration       First Use         Goods
                      No.               Date               Date
18
      AMERICAN             3,208,284        February 13,      July 1, 1994     I.C. 41:
19                                          2007                               Educational
20    CAREER                                                                   services,
      COLLEGE                                                                  namely,
21                                                                             providing
22                                                                             courses of
                                                                               instruction at
23                                                                             the
24                                                                             undergraduate
                                                                               and
25                                                                             professional
26                                                                             level.
27                         3,816,671        July 13, 2010     April 22,        I.C. 41:
28                                                            2009             Educational

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1                                                                              services,
2                                                                              namely,
                                                                               providing
3                                                                              courses of
4                                                                              instruction at
                                                                               the
5                                                                              undergraduate
6                                                                              and
                                                                               professional
7                                                                              level and
8                                                                              distribution of
                                                                               course
9                                                                              material in
10                                                                             connection
                                                                               therewith.
11
12             23.    Each of the registrations for the ACC Marks listed in Paragraph 22 are
13   valid and subsisting, in full force and effect, and constitute prima facie evidence of
14   the validity of the registered trademarks and of ACC’s exclusive right to use the
15   trademarks in commerce in connection with the goods specified in the registrations.
16             24.    ACC has invested significant amounts of time, effort, and resources in
17   the advertisement and promotion of the ACC marks in a wide variety of media,
18   including on their buildings, social media, and the internet. ACC’s advertising and
19   promotion of the ACC Marks has created an association in the minds of the
20   consuming public between the ACC Marks and American Career College.
21             25.    ACC also provides non-profit fund raising services, financial support,
22   and tuition assistance services through American Career College Educational
23   Foundation, furthering the reach and accessibility of ACC’s brand of services.
24             B.     Defendant’s Infringing Activities and Breach of Contract
25             26.    On June 22, 2020, ACC sent Defendant a letter in which it notified
26   Defendant of ACC’s prior rights in the ACC marks and that Defendant’s actions of
27   using the Infringing Marks in connection with their educational services constitutes
28   trademark infringement and unfair competition.
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1              27.    On July 1, 2020, Defendant’s counsel responded, asking for a six month
2    transition period in which it was understood that Defendant would take steps to
3    rebrand and cease all use of infringing marks. ACC generously accepted this request.
4              28.    On July 16, 2020, ACC and the Defendant duly executed the
5    Agreement. In exchange for ACC not commencing litigation, Defendant agreed to
6    cease all use of the Infringing Marks in connection with any educational services by
7    January 16, 2021—six months from the date that the contract was executed. This
8    Agreement included Defendant ceasing use of the Infringing Marks on any
9    promotional materials and social media accounts, including on its Instagram,
10   Snapchat, Facebook, and on its website.
11             29.    After January 16, 2021, Defendant continues to use the Infringing
12   Marks in connection with educational services in the healthcare field, namely,
13   nursing and home health aide programs. Its Instagram account
14   (@americanmedicalcareercollege), Snapchat account (@amccpomona1), Facebook
15   account (facebook.com/amccnursing), and website (amccpomona.magix.net), all
16   associated with the Infringing Marks, all continue to be active.
17             30.    Instead of taking down its Instagram account @amccollegepomono,
18   Defendant changed its name to @americanmedicalcareercollege and continued to
19   post in connection with the Infringing Marks.
20             31.    On January 20, 2021, ACC sent Defendant’s counsel a letter reminding
21   Defendant of its obligations under the Agreement and its infringement upon ACC’s
22   prior rights in the ACC Marks.
23             32.    Defendant’s use of the Infringing Marks is the legal equivalent to
24   ACC’s marks, that is, Defendant’s Infringing Marks creates the same, continuing
25   commercial impression such that purchasers and prospective purchasers would be
26   confused into believing that Defendant’s services and those of ACC derive from the
27   same source, or that there is an affiliation between Defendant and ACC.
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1              33.    Defendant’s unauthorized use of the Infringing Marks commencing on
2    January 16, 2021, are likely to mislead purchasers and prospective purchasers into
3    believing that Defendant’s services are sponsored, licensed or approved by, or are
4    otherwise associated or affiliated with, ACC and the ACC Marks.
5              34.    Upon information and belief, Defendant adopted and commenced use
6    of, uses, and plans to continue to use, the Infringing Marks with the intent and
7    purpose of trading upon the goodwill built up by ACC in its trademarks and to reap
8    the benefits of the years of effort invested by ACC to create recognition of the ACC
9    Marks and education services sold thereunder.
10             35.    Defendant has engaged and continues to engage in deliberate and willful
11   infringement likely to confuse purchasers as to the source of Defendant’s services
12   sold and provided under the Infringing Marks.
13                                  FIRST CAUSE OF ACTION
14                              (Common Law Breach of Contract)
15             36.    American Career College repeats the allegations set forth in the
16   paragraphs above as if fully set forth herein.
17             37.    ACC and Defendant entered into a valid and duly executed written
18   contract on July 16, 2020. The primary purpose of the contract was that in exchange
19   for ACC not commencing litigation, Defendant would cease all use of the Infringing
20   Marks in connection with any educational services by January 16, 2021. These terms
21   were clear and concise in the language of the contract.
22             38.    ACC upheld its obligation under the contract by not commencing any
23   litigation for any claims related to Defendant’s use of the Infringing Marks “occurring
24   at or anytime on or before the Effective Date,” July 16, 2020.
25             39.    Defendant completely and materially breached its contractual obligation
26   by failing to cease all use of the Infringing Marks in connection with its educational
27   services within the six month transition period provided for in the Agreement.
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1              40.    Defendant’s willful breach of contract has caused damage to ACC in an
2    amount to be determined at trial, and unless restrained, will continue to cause serious
3    and irreparable injury for which there is no adequate remedy at law. Upon information
4    and belief, Defendant has profited from this willful breach of contract by conducting
5    its business trading off the ACC Marks for an additional six months.
6              41.    Defendant’s breach of contract is a substantial factor in causing ACC
7    direct and immediate harm.
8              42.    In light of the foregoing, ACC is entitled to enforcement of the
9    Agreement, as well as attorney’s fees and the costs of this action that the Agreement
10   contractually provides for either party seeking enforcement.
11                                SECOND CAUSE OF ACTION
12                      (Federal Trademark Infringement, 15 U.S.C. § 1114)
13             43.    American Career College repeats the allegations set forth in the
14   paragraphs above as if fully set forth herein.
15             44.    ACC owns multiple valid and protectable federal trademark registrations
16   for the ACC Marks. The ACC Marks are used in commerce, some being used
17   continuously in commerce for over twenty years, and are distinctive by virtue of their
18   inherent and acquired distinctiveness, extensive use, and publicity in the fields of
19   healthcare and education.
20             45.    As described in detail in paragraphs set forth above, Defendant is
21   advertising, promoting, and selling Defendant’s services bearing the Infringing Marks.
22             46.    Upon information and belief, consumers who encounter Defendant’s
23   website or social media pages are likely to believe that those services are sourced
24   from, affiliated with, or associated with ACC. Defendant’s use of the Infringing
25   Marks in connection with its educational services is likely to cause confusion,
26   mistake, or deception as to the affiliation, connection, or association of Defendant
27   with ACC, or as to the origin, sponsorship, or approval of Defendant’s services by
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1    ACC. Such use constitutes trademark infringement in violation of 15 U.S.C. §
2    1114(1)(a).
3              47.      Defendant’s actions after January 16, 2021, are without the authorization
4    or permission of ACC. Defendant chose to provide, sell, advertise, and promote
5    Defendant’s educational services in connection with the Infringing Marks with actual
6    knowledge of ACC’s prior use of and rights in the ACC Marks and in breach of the
7    Agreement. Upon information and belief, Defendant chose to provide, sell, advertise,
8    and promote Defendant’s educational services in connection with the Infringing
9    Marks in commerce with the intent to cause confusion, to cause mistake, or to
10   deceive.
11             48.      Upon information and belief, Defendant has profited from this
12   infringement.
13             49.      This is an exceptional case under 15 U.S.C. § 1117(a). Defendant’s
14   conduct is willful and has caused damage to ACC in an amount to be determined at
15   trial, and unless restrained, will continue to cause serious and irreparable injury for
16   which there is no adequate remedy at law.
17             50.      In light of the foregoing, ACC is entitled to injunctive relief, and to
18   recover from Defendant all damages, including lost profits and attorneys’ fees, that
19   ACC has sustained and will sustain as a result thereof, in an amount not yet known,
20   but which circumstances warrant enhancement pursuant to 15 U.S.C. § 1117(a), as
21   well as the costs of this action. ACC is also entitled to an accounting of Defendant’s
22   profits resulting from its Lanham Act violations from the period of January 16, 2021,
23   to the time at which Defendant ceases infringement of the ACC Marks.
24                                   THIRD CAUSE OF ACTION
25                    (Federal Unfair Competition and False Designation of Origin,
26                                       15 U.S.C. § 1125(a))
27             51.      Plaintiff repeats the allegations set forth in the paragraphs above as if

28   fully set forth herein.

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1              52.    Defendant’s unauthorized use of the Infringing Marks in connection with
2    Defendant’s educational services constitutes a false designation of origin and a false
3    representation as to the origin of Defendant’s services, is likely to cause confusion,
4    mistake, or deception as to the source of Defendant’s services, and is likely to create
5    the false impression that Defendant’s services are authorized, sponsored, endorsed,
6    licensed by, or affiliated with ACC.
7              53.    Upon information and belief, Defendant’s chose to provide, sell,
8    advertise and promote Defendant’s educational services in connection with the
9    Infringing Marks with actual knowledge of ACC’s prior use of and rights in the ACC
10   Marks. Upon information and belief, Defendant offered Defendant’s services for sale
11   under and/or in connection with the Infringing Marks, in commerce, with the intent to
12   cause confusion, to cause mistake, or to deceive.
13             54.    Defendant’s actions constitute unfair competition in violation of Section
14   43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
15             55.    Defendant’s conduct is willful and has caused and is causing immediate
16   and irreparable injury to ACC, and will continue both to damage ACC and to confuse
17   the public unless enjoined by this Court. ACC has no adequate remedy at law.
18             56.    This is an exceptional case under 15 U.S.C. § 1117(a).
19             57.    In light of the foregoing, ACC is entitled to injunctive relief, and to
20   recover from Defendant all damages, including lost profits and attorneys’ fees, that
21   ACC has sustained and will sustain as a result thereof, in an amount not yet known,
22   but which circumstances warrant enhancement pursuant to 15 U.S.C. § 1117(a), as
23   well as the costs of this action. ACC is also entitled to an accounting of Defendant’s
24   profits resulting from its Lanham Act violations from the period of January 16, 2021,
25   to the time at which Defendant ceases infringement of the ACC Marks.
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1                                      PRAYER FOR RELIEF
2              WHEREFORE, Plaintiff respectfully demands judgment as follows:
3              1.     For an order and judgment that Defendant has breached its contract with
4    ACC;
5              2.     For an order and judgment that Defendant has infringed the ACC Marks
6    in violation of ACC’s rights under 15 U.S.C. § 1114;
7              3.     For an order and judgment that Defendant has unfairly competed with
8    ACC in violation of ACC’s rights under 15 U.S.C. § 1125(a);
9              4.     For an order and judgment that Defendant has acted in bad faith,
10   willfully, intentionally, and/or with reckless disregard to ACC’s rights;
11             5.     For an order permanently enjoining and restraining Defendant, its
12   officers, agents, directors, shareholders, principals, licensees, distributors, attorneys,
13   servants, employees, affiliates, subsidiaries and assigns, and all those persons in
14   concert or participation with any of them from:
15                    a.    Using the Infringing Marks or any other trademark that is
16                          confusingly similar to the ACC Marks with the sale or
17                          advertisement of Defendant’s educational services;
18                    b.    Conducting any activities in the United States that relate to, refer
19                          to, or concern the advertising, promotion, distribution, displaying,
20                          sale or offering for sale education services or any related goods or
21                          services, in any media or format, using the Infringing Marks, or
22                          any other trademark that is confusingly similar the ACC Marks;
23                    c.    Using any false designation of origin or false description
24                          (including, without limitation, any letters or symbols), or
25                          performing any act, which can, or is likely to, lead members of the
26                          trade or public to believe that any goods advertised, promoted,
27                          distributed, displayed, produced, sold or offered for sale by
28                          Defendant, or any services advertised, promoted, sold or offered
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1                           for sale by Defendant, are in any manner associated or connected
2                           with ACC, or are authorized, licensed, sponsored or otherwise
3                           approved by ACC;
4                     d.    Engaging in any other activity constituting unfair competition with
5                           Plaintiff, or constituting an infringement of the ACC Marks;
6                     e.    Applying to register or registering in the United States Patent and
7                           Trademark Office or in any state trademark registry the ACC
8                           Marks or any other confusingly similar trademark, for educational
9                           services or any goods or services related to the foregoing;
10                    f.    Assisting, aiding, or abetting any other person or business entity in
11                          engaging in or performing any of the activities referred to in
12                          subparagraphs (a) through (e) above;
13             6.     For an order directing Defendant to deliver up to Plaintiff’s attorneys an
14   accounting of all profits earned on Defendant’s educational services from the period
15   of January 16, 2021, to the present;
16             7.     For an order directing such other relief as the Court may deem
17   appropriate to prevent the public from deriving the erroneous impression that any
18   product or services advertised, promoted, distributed, displayed, produced, sold or
19   offered for sale by Defendant is in any manner authorized by Plaintiff or related in any
20   way to Plaintiff;
21             8.     For an order directing Defendant to file with the Court and serve upon
22   Plaintiff’s counsel within thirty (30) days after entry of judgment a report in writing
23   under oath, setting forth in detail the manner and form in which it has complied with
24   the above;
25             9.     For an order awarding Plaintiff such damages it has sustained or will
26   sustain by reason of Defendant’s acts of trademark infringement and unfair
27   competition, and that such damages be enhanced pursuant to 15 U.S.C. § 1117;
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1              10.    For an order awarding Plaintiff all gains, profits, property, and
2    advantages derived by Defendant from Defendant’s unlawful conduct and that such
3    profits be enhanced pursuant to 17 U.S.C. § 1117;
4              11.    For an order awarding Plaintiff exemplary and punitive damages to deter
5    any further willful infringement as the Court finds appropriate;
6              12.    For an order awarding Plaintiff its costs and disbursements incurred in
7    this action, including reasonable attorneys’ fees pursuant to 15 U.S.C. § 1117(a) and
8    as provisioned for in the parties’ Agreement;
9              13.    For an order awarding Plaintiff interest, including pre- and post-judgment
10   interest, on the foregoing sums; and
11             14.    For an order awarding Plaintiff such other and further relief as the Court
12   may deem just and proper.
13                                  DEMAND FOR JURY TRIAL
14             15.    Plaintiff hereby demands trial by jury in this action.
15
16   Dated: February 8, 2021                        DUANE MORRIS LLP
17
                                                By: /s/ Michelle Hon Donovan
18                                                Michelle Hon Donovan (SBN 234492)
                                                  E-mail: mhdonovan@duanemorris.com
19                                                Attorneys for Plaintiff
                                                  American Career College, Inc.
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